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 4
     Attorney for Defendant
 5   MIGUEL SEPULVEDA FELIX
 6

 7                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,            ) Case No.: 1:09-CR-0317-AWI
10                                        )
                 Plaintiff,               ) ORDER RE: EXONERATION OF BOND
11                                        ) AND RECONVEYANCE OF REAL
         vs.                              ) PROPERTY
12                                        ) Deed of Trust 2009-0088602-00
     MIGUEL SEPULVEDA FELIX,              )
13                                        )
                 Defendant                )
14                                        )
15

16

17   On August 31, 2009 a Deed of Trust No.2009-0088602-00 and
18   Promissory Note were posted by Adela Olivera on behalf of
19   Defendant, Miguel Sepulveda Felix. On January 23, 2013,
20   defendant self-surrendered to the custody of the Federal
21   Correctional Institution Sheridan, Oregon. At this time, Request
22   is hereby made that the following property be reconveyed as
23   follows:
24   ADELA OLIVERA, A married women as her sole and separate
25   property.
26    Dated this February 5, 2013
27                                                      /s/ ROBERT L. FORKNER __
                                                        ROBERT L. FORKNER
28                                                      Attorney for Defendant
                          [PROPOSED] ORDER OF RECONVEYANCE - 1
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                        IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                  ) Case No.: 1:09-CR-0317-AWI
10                                              ) ORDER RE: EXONERATION OF BOND
                  Plaintiff,                    ) AND RECONVEYANCE OF REAL
11                                              ) PROPERTY
           vs.                                  ) Deed of Trust 2009-0088602-00
12                                              )
     MIGUEL SEPULVEDA FELIX,                    )
13                                              )
                  Defendant                     )
14                                              )
15
                                              ORDER
16

17
     Accordingly, IT IS HEREBY ORDERED that the property bond in the
18
     above-captioned case be exonerated and title to the real
19
     property reconveyed to the owner, ADELA OLIVERA. It is further
20
     ordered that all correspondence regarding reconveyance of the
21
     posted property be sent to Mrs. Adela Olivera at the address
22
     previously provided to the court.
23

24

25

26
     IT IS SO ORDERED.
27
     Dated: February 12, 2013
28                                           SENIOR DISTRICT JUDGE
                                                      DEAC_Signature-END:




                                [PROPOSED] ORDER OF RECONVEYANCE - 2
